Case 2:10-md-02179-CJB-DPC Document 6624-1 Filed 06/07/12 Page 1 of 7




                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF LOUISIANA


In re: Oil Spill by the Oil Rig                   *          MDL No. 2179
“Deepwater Horizon” in the Gulf                   *
of Mexico, on April 20, 2010                      *          SECTION “J”
                                                  *
This Document Relates to:                         *          JUDGE BARBIER
MDL No. 2179; No. 10-4536                         *
                                                  *          MAGISTRATE NO. 1
                                                  *          MAGISTRATE SHUSHAN
*     *        *   *   *   *    *   *   *   *   * *

          MEMORANDUM OF ANADARKO PETROLEUM CORPORATION
               AND ANADARKO E&P COMPANY LP REGARDING
          UNITED STATES’ MOTION FOR ENTRY OF CONSENT DECREE

          Anadarko Petroleum Corporation and Anadarko E&P Company, LP (together

“Anadarko”) do not oppose the United States’ Unopposed Motion for Entry of Consent

Decree [Rec. Doc. 6436] (the “Motion”). Anadarko files this brief memorandum solely

to note that certain of the United States’ arguments in support of entry of the settlement

do not accurately reflect the statutory penalty factors and are otherwise inconsistent with

the Clean Water Act (“CWA”), and should not be adopted by the Court in subsequent

proceedings involving other parties.

I.        ARGUMENT

          The CWA sets out specific factors that the Court must use to assess the

appropriate amount of civil penalties: (1) the “seriousness of the violation”; (2) the

economic benefit to the violator, if any; (3) the degree of culpability; (4) any other

penalty assessed for the same incident; (5) any history of prior violations; (6) the nature,

extent, and degree of success of any efforts of the violator to minimize or mitigate the

effects of the discharge; (7) the economic impact of the penalties on the violator; and (8)




A/74958127.3
Case 2:10-md-02179-CJB-DPC Document 6624-1 Filed 06/07/12 Page 2 of 7




any other matters as justice may require. 33 U.S.C. § 1321(b)(8). A district court has

discretion in determining a penalty amount, but it must consider each factor. Although

the United States references certain of the statutory factors in its arguments in support of

entry of the consent decree, it does not undertake a complete penalty analysis consistent

with the prescribed factors in the CWA. Thus, the United States’ analysis cannot serve as

a basis for any subsequent penalty assessment by this Court.

A.        A “Top-Down” Penalty Assessment Approach is not Mandatory.

          The United States’ Motion purports to outline the penalty assessment framework

that would be conducted by this Court, but it does not accurately reflect this Court’s

duties and discretion in assessing a penalty under the CWA.

          The United States asserts that “the Fifth Circuit has used a ‘top-down’ approach

to determine the amount of civil penalties” under the CWA. Motion at 16. While the

Fifth Circuit has affirmed district courts’ use of a “top-down” approach in certain cases,

the Fifth Circuit has never held that a “top-down” approach to CWA penalty assessment

is mandatory. See Sierra Club, Lone Star Chapter v. Cedar Point Oil Co., Inc., 73 F.3d

546, 573 (5th Cir. 1996). The plain text of the CWA does not mandate any particular

approach, except to require consideration of each of the listed factors. Federal Courts of

Appeal have held that district courts have discretion to use either a “top-down” or

“bottom-up” approach in assessing penalties, depending on the circumstances. See, e.g.,

.S. v. Smithfield Foods, Inc., 191 F.3d 516, 528 n. 7 (4th Cir. 1999) (“the CWA does not

require the use of either method, however, courts have applied both”); U.S. v. Municipal

Authority of Union Tp., 150 F.3d 259, 265 (3d Cir. 1998) (“Some courts have employed a

“top down” approach … [o]ther courts have used a “bottom up” approach. . . .”). This

Court should exercise its own judgment to determine whether a “top-down,” “bottom-


A/74958127.3                                 2
Case 2:10-md-02179-CJB-DPC Document 6624-1 Filed 06/07/12 Page 3 of 7




up,” or some other approach that considers all statutory factors 1 is appropriate, after all

interested parties have had an opportunity to brief the issue.

B.        Certain of the United States’ Arguments are not Relevant to the Statutory
          Penalty Factors.

          The United States’ Motion identifies various facts purportedly supporting the

settlement amount, but these alleged facts are not relevant to the penalty assessment

factors under the statute.          The United States argues that “MOEX stood to make

substantial profits if Macondo had been a success” and that this alleged fact weighs in

favor of assessing a high penalty against MOEX. Motion at 13.

          The United States does not identify to which factor this argument supposedly is

relevant, and there is no support either in the text of the CWA or in reported decisions

that potential profits are relevant to a penalty assessment under the CWA. The only

arguably relevant factor is the “economic benefit” factor, but that requires the Court to

consider the “economic benefit to the violator, if any, resulting from the violation” of the

CWA, not the economic benefit that may have been realized had a violation never

occurred. 33 U.S.C. § 1321(b)(8). This factor is intended “to prevent a party violating

the CWA from gaining an unfair advantage against its competitors, and to prevent it from

profiting from its wrongdoing.” United States v. Allegheny Ludlum Corp., 366 F.3d 164,

178 (3d Cir. 2004); United States v. Scruggs, No. G-06-776, 2009 WL 500608, at *4

(S.D. Tex. Feb. 26, 2009) (same). No one could reasonably contend that any of the non-

operating investors benefitted financially from the violation in this case




          1
           While the record evidence here is not clear, it appears that the latter approach was used here,
where an amount the United States considers to be fair and appropriate in light of the statutory factors was
agreed upon in arriving at the settlement amount with MOEX.


A/74958127.3                                          3
Case 2:10-md-02179-CJB-DPC Document 6624-1 Filed 06/07/12 Page 4 of 7




          The United States’ implicit suggestion that there is something worthy of

punishment in merely investing in a potentially profitable oil and gas exploration and

production operation on the OCS is unfounded. The United States earns substantial

royalties from the sale of minerals extracted from the OCS, and domestic energy

exploration and production serves a critical social need. The United States thus has a

powerful interest in incentivizing private investment in exploration and production on the

OCS, and no public purpose is served by penalizing investors who make such beneficial

projects possible, but who have no control over the actual operations.

          Finally, the United States also contends that a large CWA penalty is warranted in

this case because “Congress intended that the cost of pollution would be borne by the

parties directly engaged in the enterprise which caused the spill,” Motion at 13 (emphasis

added), but that observation is irrelevant to assessment of civil penalties under the CWA.

CWA penalties do not recover damages for the costs of an oil spill. OPA, not the CWA,

is the principle federal law governing reimbursement of the costs of oil pollution. As the

United States makes clear, and this Court has held, the “[t]he purpose of civil penalties is

to punish the violator….” Motion at 20; Order and Reasons as to Transocean and BP’s

Cross- Motions for Partial Summary Judgment Regarding Indemnity [Doc. 5446] at 20.

That is why, as the United States argues – and Anadarko agrees – CWA penalties do “not

allocate proportionate liability for response costs or damages, but rather targets a specific

penalty to a specific defendant.” Motion at 10, n. 9.

II.       CONCLUSION

          Anadarko recognizes that the only issue the Court need resolve is whether the

proposed settlement is fair and reasonable, and Anadarko does not oppose the United




A/74958127.3                                  4
Case 2:10-md-02179-CJB-DPC Document 6624-1 Filed 06/07/12 Page 5 of 7




States’ Motion for Entry of Consent Decree. Notwithstanding, as explained above, many

of the United States’ arguments in support of its Motion are either not consistent with, or

are wholly irrelevant to, the statutory penalty factors prescribed in the CWA. The United

States’ arguments in its Motion therefore should not provide a framework for resolution

of any future CWA penalty assessments or settlements.



                                             Respectfully submitted,

          DATED: June 7, 2012                BINGHAM McCUTCHEN, LLP


                                             /s/ James J. Dragna______________
                                             James J. Dragna
                                             jim.dragna@bingham.com
                                             Bingham McCutchen LLP
                                             355 South Grand Avenue
                                             Suite 4400
                                             Los Angeles, California 90071-3106
                                             Telephone (213) 680-6436
                                             Facsimile (213) 680-8636

                                             Ky E. Kirby
                                             ky.kirby@bingham.com
                                             David B. Salmons
                                             david.salmons@bingham.com
                                             Michael B. Wigmore
                                             michael.wigmore@bingham.com
                                             Warren Anthony Fitch
                                             tony.fitch@bingham.com
                                             Randall M. Levine
                                             randall.levine@bingham.com
                                             2020 K Street, NW
                                             Washington, DC 20006-1806
                                             Telephone (202) 373-6000
                                             Facsimile (202) 373-6001




A/74958127.3                                5
Case 2:10-md-02179-CJB-DPC Document 6624-1 Filed 06/07/12 Page 6 of 7




                                  KUCHLER POLK SCHELL
                                  WEINER & RICHESON, LLC

                                  Deborah D. Kuchler, T.A. (La. Bar No.
                                  17013)
                                  dkuchler@kuchlerpolk.com
                                  Janika Polk (La. Bar No. 27608)
                                  jpolk@kuchlerpolk.com
                                  Robert Guidry (La. Bar No. 28064)
                                  rguidry@kuchlerpolk.com
                                  1615 Poydras Street, Suite 1300
                                  New Orleans, LA 70112
                                  Tel: (504) 592-0691
                                  Fax: (504) 592-0696




A/74958127.3                      6
Case 2:10-md-02179-CJB-DPC Document 6624-1 Filed 06/07/12 Page 7 of 7




                             CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that, pursuant to Pre-trial Order No. 12, I have caused the

foregoing to be served on all counsel via the Lexis Nexis File & Serve system, and that

the foregoing was electronically filed with the Clerk of Court of the United States District

Court for the Eastern District of Louisiana by using the CM/ECF system, who will send a

notice of electronic filing in accordance with the procedures established in MDL 2179, on

June 7, 2012.

                                             ______/s/ James J. Dragna______________
                                                   James J. Dragna




A/74958127.3                                 7
